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ing Atta;@ley§ _for Plaintiff
§§ UNIE§D §TATES OF AMERICA
§§ .d ":§ 7
§§ O? ;_ UNITED STATES DISTRICT COURT
§§ , _r iq ’
iii § ;»,`.j; ‘ FOR THE CENTRAL DIsTRICT oF CALIFORNIA
12 IN T;H§E §\§_z§I'TER oF THE EXTRADITION Misc. No. 16 - 139 an
oF - ' » »
13 COMPLAINT FOR ARREST WARRANT AND
FABRICE FELIX STEPHANE TOUIL, EXTRADITION; ORDER THEREON
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(UNDER SEAL)
15 a fugitive from the Government
of France.
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19 I, Andrew Brown, being duly sworn, state that I am an Assistant
20 United States Attorney for the Central District of California and
21 that, upon information and belief, the following is true and correct:
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23 1. In this matter, I act for and on behalf of the Government of
24 France.
25 2. There is an extradition treaty in force between the United
26 States and France, the Extradition Treaty Between the United States
y27 of America and France, U.S.-Fr., Apr. 23, 1996, S. Treaty Doc. No.
28 105-13 (1997), as amended by the Instrument as contemplated by

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Article 3, paragraph 2, of the Agreement on Extradition Between the
United States of America and the European Union signed 25 June 2003,
as to the application of the Extradition Treaty Between the United
States of America and France signed 23 April 1996, U.S.-Fr., Sept.
30, 2004, S. Treaty Doc. No. 109-14 (2006) (collectively referenced
hereafter as “the Extradition Treaty”).
3. Pursuant to the Extradition Treaty, the Government of France has
submitted a formal request through diplomatic channels for the
extradition of the Fabrice Touil, a French national who is also a
citizen of Israel.
4. Fabrice Touil is charged in France with fraud committed as an
organized gang, in violation of articles 313-1, 313~2, 313~3, 313~7,
and 313~8 of the Penal Code of France; and money laundering committed
as an organized gang, in violation of articles 324-1, 324~2, 324-3,
324-4, 324-5, 324-6, 324-7 and 324-8 of the same code; both committed
within the jurisdiction of France. The warrant for his arrest was
issued on June 3, 2014, by Renaud Van Ruymbeke, Senior Vice President
in charge of Investigation at the High Instance Court of Paris,
France.
5. The following facts are contained in the extradition request,
except where noted:

A. Summary of the Fraudulent Scheme

Fabrice Touil and his co-conspirators, including his brother,
Mike Touil, and other members of his family and friends, operated two
sham business entities--B Concept and Euro Trade Energy--for the
purpose of collecting Value Added Tax (“VAT”) of 19.6% on the sale of
carbon credits (i.e., rights to pollute through the emission of

carbon dioxide and other greenhouse gases) in France. Instead of
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turning the VAT proceeds over to the taxing authority of France as
they were required to do, Fabrice Touil and his co-conspirators kept
the VAT funds they had collected for themselves.

The conspirators employed three main means of making their

scheme harder to detect. First, they used a series of shell

corporations in different countries to buy and sell carbon credits so
that it would be difficult to trace transactions to the corporations
that owed VAT. Second, they listed their shell corporations mostly
in the names of other persons, whose identifying information they
purchased, so that the fraud would not be traced back easily to
themselves. Third, they abandoned their shell corporations quickly
to stay ahead of investigations into them. As a result of this
fraud, Fabrice Touil and his co-conspirators collected well over 60
million Euros ($68 million), which was then laundered through a
series of bank accounts held in the name of sham businesses, at least
some of which Fabrice Touil controlled, mostly in foreign countries.
B. “B Concept” Was Used to Steal Over 41 Million Euros in VAT
B Concept was incorporated in France in October 2007 with 10,000
Euros in capital, and was dissolved in June 2009. Money, in the
amount of 460,000 Euros (approximately $512,000), which funded B
Concept's initial purchase of carbon credits, came from the Israeli
bank account of Sarah Benattia, who is the wife of Raphael Haddouck,
a friend of Fabrice Touil's. B Concept collected over 1.3 million
Euros ($1.5 million) in VAT in 2008, and over 40 million Euros ($45.7
million) in VAT in the first five months of 2009, by selling carbon

credits, It did not file tax returns or turn over any of the VAT

collected.

 

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According to its articles of incorporation, B Concept had two
partners, William Block and Guillaume Girard. William Block is a
blue-collar worker who was recruited by Jeremy Lalloum--a man who has

been indicted in France for his participation in the VAT scheme

described herein, and who has admitted providing strawmen at Mike

Touil's request--and was given 5,000 Euros (approximately $5,570) to
open a bank account in the name of B Concept. Although William Block
nominally ran B Concept, he told French investigators that he has
never conducted any business involving carbon rights. During a
business meeting with the pollution exchange, someone knowledgeable
about finance pretended to be “William Block,” the nominal CEO of B
Concept, but in fact did not fit the real William Block's physical
description. Guillaume Girard was not in fact involved with B
Concept at all, and William Block does not know him.

B Concept was required by law to maintain an accounting of its
operations and inventory, but it did not do so. Although it is
difficult to determine B Concept’s “business” model, as it did not
keep records, it was prepared to sell carbon credits at a loss, which
would not ordinarily make economic sense. This business model did,
however, enable B Concept's operators to keep the VAT for themselves.

B Concept obtained carbon credits through a web of transactions.
It purchased credits from two suppliers, GT Capital and C Power,
which, like B Concept, were only shell corporations run by figurehead
managers and which also did not file VAT returns. GT Capital and C
Power had purchased the credits from two other suppliers, who had in

turn obtained the credits from Climate Corporation, an Austrian

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C. “Euro Trade Energy” Was Used to Steal over 23 Million Euros
in VAT in 2009

Euro Trade Energy was a limited liability Company registered in
Paris in November 2008. It traded carbon credits from January

through June 2009. In that time, it collected over 23.5 million

nEuros ($26 million) in VAT. It never filed a tax return nor turned

over any of the VAT collected.

As with B Concept, Euro Trade Energy was a shell. It maintained
no accounting records, although required to do so by law, and had no
physical office or paid employees. Many of the documents used to set
up Euro Trade Energy bore forged signatures and reproductions of
notaries' seals.

The nominal chairman of Euro Trade Energy, Rui André Maciera
Brandao, did not in fact manage the corporation. By trade, Mr.
Brandao is a garbage collector. He explained to investigators that
he had sold his identity documents to a man named “Blaze” associated
with Franck Bismuth, an individual who had dated a prostitute who
served as Euro Trade Energy’s Danish “representative.” Mr. Brandao
specifically denied conducting several actions done in his name on
behalf of Euro Trade Energy, such as signing the articles of
incorporation and the carbon register, opening a bank account, and
using an email address that contained part of his name for Euro Trade

Energy's banking.

1. Fabrice Touil impersonated the nominal CEO of Euro
Trade Energy to place carbon trading orders

Voice analysis of the recorded telephone orders on the carbon

trading market purportedly placed by Mr. Brandao, the garbage

rcollector who was the nominal chairman of Euro Trade Energy, reveals

 

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that Fabrice Touil impersonated Mr. Brandao and placed the orders
himself.

The voice analysis was performed by Gaelle Jardine, an Engineer
at the Signal Analysis and Processing Laboratory of France's
Department of the Interior. She compared the recorded carbon trades
of the purported Mr. Brandao on the one hand with known voice
exemplars from several conspirators, including Fabrice Touil, on the
other. The known voice exemplars were taken from wiretaps of Fabrice
Touil's parents' telephones. She then created models for the
speaking voices of these individuals. While this was not true of all
the subjects, she had sufficient samples of quality recordings to
make a voice model for “Fabrice displaying the best possible
quality.” Engineer Jardine ran those voice models through a software
suite called Batvox to compare them and reference voices to the
recordings of the purported Mr. Brandao.

According to Agnitiol, the company that makes Batvox, its voice
analysis software was first developed at the Technical University of
Madrid and is now used in legal proceedings in 35 countries, mostly
in Europe and including France. It compares voices and calculates
likelihood ratios that they are from the same person. “Likelihood
ratios” are a statistical concept for comparing whether one

hypothesis or another is more likely true. In this case, the

 

1 The information that is identified as coming from Agnitio was
provided to me directly from that company's personnel through
interviews and technical documents, most notably the academic twin
study described later, and was not included in the extradition
request from France. It is included here so that persons unfamiliar
with Batvox can better understand the voice analysis report that
,Qaelle Jardine performed with that software, which was included in
the extradition request.

 

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competing hypotheses would be, for example, “the caller requesting
the carbon trade is Fabrice Touil,” versus “the caller requesting the
carbon trade is not Fabrice Touil.”

Engineer Jardine used a logarithmic scale, like the decibel

scale, to represent the Batvox likelihood ratios, so that each

additional unit represents a factor of 10 increase in the likelihood
ratio. A score can either be positive, indicating that it is likely
that the caller is Fabrice, or negative, indicating that it is
unlikely.' A score between 0 and 1 is not considered very meaningful.
A score of 1 indicates that it is 10 times more likely that the voice
was Fabrice's than not. A score of 2 indicates that it is 100 times
more likely than not, and so on.

Twenty-one calls executing carbon trades by the purported Mr.
Brandao were compared to Fabrice's voice and others. A couple of the
calls generated scores that were not meaningful, ranging from -0.04
to +0.27, so nothing much can be inferred from them. One call was
noticeably negative, -1.64, indicating that it was between 10 and 100
times more likely that the caller was not Fabrice than that it was
him. The bulk of the calls, however, were positive, and some
extremely so. Eighteen calls scored over +1, and eight scored +6 or
higher. A score of six indicates that it is 1,000,000 times more
likely that the caller was Fabrice than not.

The likelihood ratios for the other voices did not come close to
Fabrice's scores. His brother Mike, for example, had negative scores
on 15 of the calls, and his brother Richard had negative scores on
14. And when they did have positive scores, they generally were
below +1. The “imposter” voices, which are included just for error

checking, scored even worse than Richard and Mike. Similarly, the
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“imposter phone lines,” generated negative scores when compared to
Fabrice.
Agnitio, the company that developed Batvox, confirmed that

Engineer Jardine, an expert in phonetics, is one of the most

experienced users of their Batvox software suite, and has been

certified at the highest level that Agnitio provides for Batvox
(Level 3), which takes years of training.
a). An academic study demonstrated that Batvox is so

effective that it can correctly distinguish
between identical twins

 

Hermann J. Kunzel of the University of Marburg, Germany, used
Batvox voice recognition software in an extremely demanding test:
distinguishing the voices of identical twins. His study, published
as Automatic Speaker Recognition of Identical Twins, in THE
I>NTERNATIONAL JOURNAL oF SPEECH , LANGUAGE AND THE LAW, Vol . 17 . 2 , 251-7 7
(2010), showed that Batvox software was able to distinguish correctly
between each of nine pairs of male twins. The test was particularly
hard because the voice exemplars included both spontaneous speech and
reading aloud, and the correct twin's spontaneous speech was compared
against his reading voice only, whereas it was compared to both the
incorrect twin's spontaneous speech and reading aloud, Thus Batvox
had to distinguish not only between identical twins, but to do so
when the manner of speech - spontaneous or reading aloud - should
have skewed the results toward the incorrect twin.

Each twin pair was arbitrarily divided between the “red” and
“blue” twin. The voice models were created using the red twins'
spontaneous speech only. The comparisons included the red twins
reading aloud, the blue twins reading aloud, and the blue twins'

spontaneous speech. As expected, the blue twins reading aloud - the
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same manner of speech as used to generate the model ~ generated
higher likelihood ratios than did the blue twins' spontaneous speech.
Indeed, Batvox properly assigned negative or near zero likelihood
ratios to the blue twins reading aloud in every instance even though
these individuals were genetically identical to the red twins used to
make the voice model. And while Batvox did detect similarities
between the red twins' and blue twins' spontaneous speech, typically
assigning them positive likelihood ratios, those ratios were dwarfed
by those assigned to a comparison of the red twins' spontaneous
speech and reading aloud, On average, Batvox generated likelihood
ratios that were between 100 and 1,000 times greater for the correct
twin using a different form of speech than it did for the incorrect
twin using an identical form of speech.2

D. Evidence Fabrice Touil Received and Laundered the Fraud
Proceeds

Fabrice Touil received much of the fraud proceeds through
companies he controlled. The proceeds took a complicated route.
First, they were transferred from B Concept to at least six different
business bank accounts in Russia, Cyprus, Portugal, and Hong Kong.
They were then moved to at least three other business accounts,
including one held by Euro Trade Energy, in Russia and Cyprus. Then
the proceeds were moved again to bank accounts in the names of Roter
Ltd and Ageo HK Ltd in Latvia, Hong Kong, and Liechtenstein.

Roter Ltd's bank accounts in Latvia and Liechtenstein were

controlled by Harnouf Haddoug, the brother of Fabrice Touil's friend

 

2 The results of the study for female twins, while still good,
were not as impressive, and are not included here because Fabrice

Touil is male.

 

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Raphael Haddouck. In late 2009 and early 2010, Roter Ltd transferred
over 11 million Euros ($12.4 million) to an account held by Ageo HK
Ltd in Liechtenstein, which had been opened by, and was controlled
by, Fabrice Touil. In an attempt to justify this transfer, a fake
contract was drafted purportedly for the purchase by Roter Ltd of
seventeen works of art. Invoices and delivery slips in connection
with the purchase were forged, and no art was in fact delivered.

According to bank documents from Liechtenstein, Fabrice Touil
had control of the Ageo HK Ltd account that ultimately received the
fraud proceeds. Witnesses from a business called “France Offshore”
that sets up foreign corporations confirmed that Fabrice Touil
requested the incorporation of Ageo HK Ltd, as well as Tramex HK Ltd,
discussed later, Fabrice Touil also opened an account in the name of
Ageo HK Ltd in Latvia, from which over 164,000 Euros ($183,000) was
transferred into a personal bank account held by Fabrice Touil. In
addition, over 11 million Euros ($12.9 million) was transferred from
Fabrice Touil's Ageo HK Ltd account in Latvia to another account at
the same bank held in the name Howick Capital Corp, which bank
documents show was also controlled by Fabrice Touil; and over 6.7
million Euros ($7.5 million) was transferred from the Ageo HK Ltd
account to an account held by Tramex HK Ltd, which was also
controlled by Fabrice Touil. As noted previously, Tramex is also one
of the shell businesses that Fabrice Touil incorporated through
France Offshore.

Fabrice Touil then used some of these funds to purchase real
estate in the United States. From August 2011 to April 2013, over
$10 million was transferred from Fabrice Touil's Howick Capital Corp

and Ageo HK Ltd accounts to the Law Offices of Isaac Benmergui in
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Florida, and was used to purchase real estate. The purchases were
made in the name of Fabrice Touil and business entities he
controlled. The properties were sold by Ocean Five Holding LLC, the

listed representative of which is Audrey Lasry, Fabrice Touil's

sister-in-law.

The fraud proceeds traced as described above are a fraction of
the money that was credited to shell companies Fabrice Touil
controlled. For example, Fabrice Touil's Ageo HK Ltd bank account in
Latvia was credited with over 33 million Euros between 2009 and 2013,
while his Ageo HK Ltd bank account in Liechtenstein received over 11
million Euros in 2010 and 2011.-

E. Additional Evidence of Fabrice Touil's Involvement in the
Fraud and Money Laundering Conspiracies

Other evidence of Fabrice Touil's involvement in the fraud and
money laundering conspiracies includes the following:

1. Many of the other conspirators are friends and family
members of Fabrice Touil

The investigating judge in France indicted Fabrice's brother,
Mike Touil, as the main perpetrator of the VAT and money laundering
conspiracy. There is also an international arrest warrant
outstanding for Fabrice's brother Richard Touil for having laundered
the fraud proceeds. Some of the proceeds of the fraud have gone to a
company held in the name of Fabrice Touil's sister-in-law, Audrey
Lasry. l

Multiple witnesses testified that Fabrice Touil was friends with
Raphael Haddouck and his brother Harnouf Haddoug. The money that

funded B Concept's initial purchase of carbon credits came from the

rlsraeli bank account of Sarah Benattia, Raphael Haddouck's wife, and

totalled 460,000 Euros. Similarly, Harnouf Haddoug had power of
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attorney over a bank account of Roter Limited, which was used to
funnel money from the fraud to other accounts controlled by Fabrice
Touil. And Raphael Haddouck purported to be the representative of
Roter Limited in a contract for a bogus art deal that was actually
used to support money laundering, discussed below. Raphael Haddouck
fled from France and currently is in lsrael. There is an
international warrant for his arrest.

2. An informant identified Fabrice Touil as one of the
masterminds of the VAT swindle

 

Law enforcement in France received anonymous information that
the Touil family had four brothers involved in a VAT swindle
conspiracy that generated up to 100 million Euros in illicit gains,
and that Fabrice and Mike Touil were the masterminds of the scheme.
The informant requested anonymity out of fear of the Touil brothers.
Similarly, Gregory Zaoui, who was indicted in France for a VAT fraud
on the carbon market, told investigators that he had heard that
Fabrice Touil would start a carbon trading business in Italy and

Germany.

3. Fabrice Touil's company received fraud proceeds
disguised as payments for art, but the art delivery
documents were forged

From my training and experience prosecuting fraud and money
laundering cases, 1 know that banks will flag transfers of funds that
do not appear to be in the ordinary course of business, and require
their customers to explain these suspicious transactions in order to
comply with anti-money laundering laws and regulations. As a result,

money launderers will often falsely attempt to justify large and

irregular transfers of funds as repayments of loans, or purchases of

 

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high-value items such as art or real property, and provide
documentation that purports to confirm this.

France obtained from banks servicing the shell businesses
involved in this case documents that fit this pattern. For example,

there is a “contract” for Roter Ltd to purchase 17 works of art for

different values generally in the hundreds of thousands of Euros

each, but ranging as high as 6.4 million Euros for one piece.
Similarly, there is an “invoice” that purports to bill Roter Ltd over
6.4 million Euros for art and calls for payment to be made to Fabrice
Touil's business Ageo HK Ltd in Liechtenstein. While Hypo Investment
Bank Liechtenstein AG debited Roter Ltd's account 550,000 Euros for
the purported purchase of works by Louis Valtat and Georges D
Espagnat, the transportation company listed on the invoice and the
art gallery that was supposed to have sold the painting stated that
the invoice was forged and no delivery of the art had actually taken
place.
4. Fabrice Touil declined to face the warrant in France

French investigators in this case called Fabrice Touil's
cellular telephone while they were executing a search warrant on his
residence in France on August 28, 2013. After the detectives
identified themselves and asked if they were speaking to Fabrice
Touil, the person who answered the phone hung up. That cellular
telephone number was then abandoned. Fabrice Touil knows that he is
wanted in France, but has declined to appear there or travel
internationally, which might precipitate his arrest on France's
international arrest warrant: he had a letter delivered in October
of 2014 to Judge Van Ruymbeke, who is investigating this case in

France, saying in part, “The [international] arrest warrant against
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me [from France] blocks me and . . . prevents me from pursuing my

activities of [poker] player on an international scale.”

6. Fabrice Touil may be found within the jurisdiction of this court
at 2666 Hutton Drive, in Beverly Hills, California. The house
located at this address was purchased in 2013 by “Real Estate 26
Investments LLC,” which has as its registered agent the Law Offices
of Isaac Benmergui. U.S. law enforcement agents have observed
Fabrice Touil at this residence in 2016.

7. Elizabeth O'Connor, an attorney in the Office of the Legal
Adviser of the United States Department of State, has provided the
Department of Justice with a declaration authenticating a copy of the
diplomatic note by which the request for extradition was made and a
copy of the extradition treaty between the United States and France,
stating that the offenses for which extradition is demanded are
covered by the treaty, and confirming that the documents supporting
the request for extradition bear the certificate or seal of the
Ministry of Justice, or Ministry or Department responsible for
foreign affairs, of France, in accordance with Article 11 of the
Extradition Treaty, so as to enable them to be received in evidence.
8. The declaration from the Department of State with its
attachments, including a copy of the diplomatic note from the
requesting state, a copy of the relevant extradition treaty, and a
summary of the extradition exhibits are filed with this complaint and
incorporated by reference herein, Also incorporated by reference are

the contemporaneously but separately filed DVD Exhibits in Support of

nthe Fabrice Touil Extradition Request.

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9. Fabrice Touil would be likely to flee if he learned of the
existence of a warrant for his arrest. Further, the
contemporaneously filed DVD Exhibits in Support of the Fabrice Touil
Extradition Request contain confidential personal identifying
information and account numbers which cannot be redacted reliably
because of their size and because some of them are in French.

WHEREUPON, complainant requests that a warrant be issued, in
accordance with the Extradition Treaty, and Title 18, United States
Code, Section 3184, for the arrest of Fabrice Touil, so that he may
be arrested and brought before this Court “to the end that the
evidence of criminality may be heard and considered”; and that this
complaint and the warrant be placed under the seal of the Court until
such time as the warrant is executed, but that the DVD Exhibits in
Support of the Fabrice Touil Extradition Request remain under seal
until further order of this Court.

Respectfully submitted,

EILEEN M. DECKER
United States Attorney

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

  

 

M<UJREW BRowN

Assistant United States Attorney
Attorneys for Plaintiff
UNITED STATES OF AMERICA

Subscribed to before me and sworn in my presence this é?j:;day of

ilTED STATES MA STRATE JUDGE

  

 

    
   
 

 

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DISTRICT OF COLUMBIA, sss
DECLARATION OF ELIZABETH M.M. O’CONNOR_

I, Elizabetli M.M. O’Connor, declare and say as follows;

l. I arn an Attorney-Adviser in- the Office of the Legal Adviser for the Department of

' State, Washington, D.C. This office has responsibility for extradition re`cjuests, and I am charged
with the extradition case ot`Fabrice Touil. l make the following statements based upon my
personal_l<nowledge and upon information made available to nie in the performance ofniy
official duties.

2. The relevant and applicable treaty provisions in full force and effect between the United
States and France are found in'the Extradition 'l`reaty between the limited States of America and
i-`*`rance, with Agreed Minute, signed on"z?3 April 1996, (the "1996 Treaty"), and the lnstrurnent as
contemplated by Aiticle 3, paragraph 2, of the Agreement on Extradition between the United _
States of America and the European Union signed 25 June 2003, as to the application of the
Extradition Treaty between the United States of Arnerica and France signed 23 April 1996,
signed 30 September 2004 (the -“lnstrtirnen't"). Copies of the 1996 Treaty and Instrument are
attached to this declaration

3. In accordance With the provisions of the 1996 Treaty and lnstrument_, the Embassy of
France has submitted Diplomatic Note No. 2015-581106, dated 3 December 20l5, formally
requesting the extradition of Fabriee Touil, and the Ministry of lustice of France has submitted
additional information to the U.S. Department of J~ustice by letter. Copies'of the diplomatic note

and the letter are attached to this declaration

 

 

 

 
      

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United States ofAmerica

 

DEPARTMENT oF sTAT.E

To all to whom these presents shall come, Greeting$_.'

_\ That Elizabeth M.M O'Connor, whose name is subscribed to the document hereunto

"' as at the time of subscribing the same Attorney-Adviser, Oftice of the Legal Adviser,
» ’ l " of State, United States of America, and that full faith and credit are due to her acts as

ertijz`care is not valid if it is removed or altered in any way whatsoever

In testimony whereof, l, John F. Kerry, Secretaiy of State , have
herennto caused the seal of the Department of State to be affixed and
my name subscribed by the Assistant Authentication Officer, of the
said Department, at the city of Washington, in the District of
Colurnbia, this ninth day of Deceinber, 2015a

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4. In accordance with Articl.e 22 of the 1996 Treaty, the United States provides legal
representation iii the U.S. courts for France in its extradition requests, and France provides legal

representation iii its courts for extradition requests made by the United States.

5 . l`he offenses for Which extradition is sought are covered by Article 2 of the 1996 Treaty.

6. Under Article ll of the 1996 Treaty, as amended by Item II of the instrument
documents that bear the certificate or seal of the Ministry of lustice, or l\lliiii`stry"or Department
responsible for foreign affairs, of the Requesting State are admissible in extradition proceedings
without further certification5 authentication or other legalization Therefore, such documents
satisfy the authentication requirements without the need for certification by the U.S. l`;`in.bassy in
Paris. France, in submitting documents in the instant case that bear the certificate or seal of the
Ministry of Justice, has complied with the Treaty and lnst.rument with respect to authentication

l declare under the penalty ofpeijui:y that the foregoing is true and correct to the best of my
knowledgel

e*”`“ ~
Executed on Decembei‘ ___, 2013,

ML'X{ .%t' %*@S»ML,@/i

@LIZABETH M.M. o’CoNNoR `

 

Attach_ments:
l. Copies of Note and Letter. . _ _
. 2. Copies of 'l`reaty and Protoeol. . " ,

 

Ambrrssedew de Fraan
crux Etiiz‘s»Ur/zis

esorsrcrsr TRANSLATION

Re: Extrm'iitioa of Mr. Fabz'ice T{)Ui.L

The `Em basey of France presents its cornplirnents to the Depart-inent,o'i` State
and has the honor to transmit, together with court documents and their translation (all in
duplicate)_. a request to the ¢\merican government for the can edition of Fdabrice '_i GUIL
born on Mai ZO’1 t976, in Paris (France), a French national On June 3rd 2014, he was
issued an arrest warrant by the first vice*preside-nt of the district court ot` Paiis (F.rance)
for gang fraud on the value-added tax and money‘laundering on the value-added tax by

organized crime

This 1equest. accompanied by an English 11 ansiation, is transmitted pursuant
111 the Extrad.ition T reaty between the United States of Ame1ica and l-`rance with
Agreed l\/Iinute signed on April 23rd 1996 (tlte "l.996 Ti catv ") and the lnstiurne_nt as
contemplated by Ai'tiolc 3, paragraph 2 of the Agieement on EY tradition between the
United States of Anieiica and the European Union signed on luna 25“. "'003_, as to the
application ot` the Extradition ""lreaty between the United States of Aine-rica and France
signed /~\_pri.l 23"‘, 1996 signed Septeinber 30“‘, 2004 (the“lnstrument").

'lf`he Embassy of Fiance would be ve ry giatet`ul to the Department of State
t`o1 referring this request to the Ainerican judicial authorities and for notifying it ot` then

subsequent actions in this regard

The Embassy of France would be most obliged to the Department of Sta:te
for asking the American judicial authorities to specify at the time of the perscn’s
releasc, the length oi` detention he served t`or extradition purposes alone ' '

The Embassy ot` France avails itself _ ot` this oppmtunity to renew to the
Department of State the expression of its highest consideration./.

W`ashington DC., December_z “‘d 2015

Department of State

}-’lrs. Amber‘ KLUESENER

Snpez'sisary Paralcgal Speciaiist

Gft`xee of’l`he Legal Advisor- Lavs- Ent`crcement & inte§iigence

Department of Jzistiee
` Mr. Kenneth Harris
Qi’i'tee ofnlrnt.ernational Aft`aii's

 

 

 

A. Ar*u'clc 5, paragraph l, of the U,S.~EU Extradition Agreemcnt provides:_

 

lustrument as contemplated by Article 3, paragraph 2, of the Agreement on Extraditiou
between the United States of America and the European Union signed 25 June 2003,
_as to the application of tire Ext`radition Tre'aty between
the United States of America and Frsnce signed 23 Apri.l 1'996

A.s contemplated by~ArricIe 3, paragraph 2, of the Agreemcnt on Exlraclin'on between the United

. §@les ofAmcn`m. and the European Union signed 25 Iune 2003'(`nercafccr “the U.S.-EU
' Extadidon~Agroemen'l"), the Govemments offhc United States of Amcrics and the French

Repul)lic acknowledge that, in accordance witn the provisions of this lrrstrument, the U.S.-EU
Extradition ~Agreemcnl is applied in relation to the bilateral Exu'adition Treaty' between the United
States ofAm€rica and Frai:\cc signed 23 April 1996 (lxereal’cer “the 1996 Treaty on E>`:h'adiiion")
under the following terms:

I

‘Keqnww for extradition _and supporting documents shall be transmitted through the """
diplomch channel, wln`ch shall include transmission as provided for in Article 7."

B. Arti_ole 5, paragraph l, of the U.S.-EU Extradition Agxecment shall govern the mode of

transmission of tile extradition request and supporring'doc\nueuts and shall be applied in
place of Article lO, paragraph l, ofthe 1996 Treaty. on Exu‘aditio`n. For purposes of
applying its terms, the reference to “Articlc 7" refers to Part l]I of this lnslrumenL

ll

l A. Article'$, paragraph 2, of the U,S.-EU Extradilion Agreer'nent _provich: `

“Documents that bear the certificate or seal of the Ministry of Iustice, or Ministry or
Department responsible for foreign affairs, of the requesting State shall bc admissible in

' extradition proceedings in the requested Statc without f\lrrher certiiication, authenticaliou,
or other logz'llization_.” v ”“ -

B. Articlc 5, paragraph 2, of the U.S._-EU Bxli'adil:ion A_grcem¢nt'shall govern the

' requirements concerning certification authentication or legalization of -the eitradition
request and supporting documents and shall be applied in place ofArticle 11 of the`l996
'I‘reaty on Extradition. F or purposes o_f applying its terms, “Muristr_y ofJusf.ice’_’ mesns, for
France, the Ministry of Iuslice `ofFrancc, and, for the United States‘of~America, the United
States Department of_J'usticc; "Minisuy or Department responsible for forcign~aifairs"

means, for France, thc Ministry ofForeign Affairs of France, and for the United States of _

America, thel United States Department of State._

']]l

A. Arliole 7, paragraph l, of the U.S.-EU Exi.radition Agreement provides:

"I_fthe person whose extradilion is sought is held under provisional arrest by die requested ‘

State, the requesting Slate may satisfy its obligation to transmit its request for extradition
and supporting documents through the diplomatic channel pursuant to Article S(l), by
submitting'tbe request and documean to the Embassy of the requested State located in the
requesting State'. In that o‘ase, the date of receipt ofsuch request b"y the Embassy shall be
considered to be _the date of receipt by the requested S’fa'tc for purposes of applying the time
limit that must be met under the applicable exlradition treaty to enable the person‘s
continued,detention.” .

‘ B, _ Article 7, paragraph l, of the U.S.jEU Extradition Agrcement shall provide an alternative

method for transmission of the request for exh:adition.and supporting documents following
provisional arrest, and shall supplement the provisions of A.rticles 10 and 13 of die 1996
Treaty on Ex`traditior'l. For purposes of applying its tcrms, the reference to “Aru`c]e 5(1)”
relates to Part.l of this Insl*rumcnt.

 

 

 

 

 

 

 

 

 

 

 

 

rv . l

- Article 10 ol`the U.S.-EU Extradition Agre'em_ent provides: ‘

"'chuests for extradition_or surrender made by several states

If the requested State receives requests from file requesting State and i`rom‘ any other State
or States for the extradition of the same person, either for the same offense or fordifferent
offences, the executive authority of the requested Statc shall determine to Which State, if
any, it Will surrender the person. t ' ~ -

If a requested Member Stabe receives an extradition request from the United States-of
Arnen`ca and a request for surrender pursuant to the European arrest warrant for the same
person, either for the same offence o_r for different offenses, the competent audiority Ofth¢
requested Member State shall determine to Wl_lich State, if an , it will surrender the.person.
F<_Jr this purpose, the competent authority shall be the requested Mernber State's executive
authority if, under the bilateral extradition treaty in force between Athe United States and the

-'Member State, dec_:isions on competing requests are made by that authority; if not so "'“
‘ provided in th`e bilateral extradition treaty, the Competent an_tliority_shall be designated by

the Mcmljer State concerned pursuant tc Articlc 19.

In making its decision under paragraphs 1 and~Z, the requested State shall consider all of
the relevant factors, including but not limited to, factors already set forth in the applicable
extradition treaty, and, where not already- so set-forth, the following: . -

- (a)' Whether the requests were made pursuant to a treaty;
' (h) ~ the places'wheré each of the offenses was 'cornmitted;

(c). the respective interests of the requesting States;

(d) the seriousness of the offenses;
(e) the nationality of the viotim;

(f) the possibility of any subsequent extradition‘between the requesting States; and ‘

(g) the chronological order in which the requests vieie'i`eceived nom the requesting
States.” ' ` 1

Artic'le 10 of the U.S.-EU _];`»,xtradition Agreengent shall govem the decision on'requcsts

- made by several States for the extradition or surrender of the same person and shall be
4 applied in place ofA.ru`cle 17 of the 1996 Treaty on Extradition. 'For purposes of Arlicle '

lO, paragraph 2, and Article' 19 of the U.S.-EU Extrad_it`ion Agreement, ifFrance receives
an extradition request from the United States of Amen'ca and n request for surrender '
pursuant _to the European arrest warrant for the same person, the "Chambre de l’nisfruetion
dela Cour d,'Appel" shall be the competent authority to determine to which St_ate the

person will be surrendered

V 4
Ar’ric:le ll of the U:S.-EU Extradition Ag'reement provides;

“Sirnplifred extradition procedures

lf the person sought consents to be smendered to the requesting State, the requested State
may, _in accordance with the principles and procedures provided for under its legal system,

surrender the person as expeditiously as possible Without further proceedingsl The consent

ofthc person sought may include agreement to waiver of protection of the rule of
specialty.” 1 '

Ar'h'cle ll of the U.S.-EU Extradition Agreement shall govern the usc ol` simplified
extradition procedures and shall supplement the provisions of the 1996 Treaty on
Extradition. t '

 

 

 

 

 

 

 

 

 

 

 

_ 'vr
" A. Article l3 ofthe U.S.-EU Extradition A'g`reement provides:
,_ “ ' ' 4“Capiial punishment

Wliere the offence for which extradition is sought is punishable by death under the laws in

thc requesting State and not punishable by death under the laws in the requested State, the 5

requested Stnte may grant extradition on the condition that the death penalty shall not be
imposed on the person sought, or if for procedural reasons such condition cannot be
complied w1th by the requesting State, on condition that the death penalty ifirnposed shall

not be carried out_. Ifthe requesting State accepts extradition subject to conditions pursuant

to this Article, it shall comply with the conditions l'fthe requesting Stat c does not accept
the conditions the request for extradition may be dcm`cd. ”

B. Article 13 of the U. S. -EU Extradition Agrecrn`ent shall govern extradition wrth respect to

conduct punishable by death 111 the Requesti_ng State and shall be applied' 111 place or Article

7 of the 1996 Treaty on Extradition.

A. t Arlicie 14 of the U.S.~EU Extradition Agreement provides:
“S_ensitiye infor'matiorx.i_n a request

Wherc t_he requesting St ate contemplates the submission of particularly sensitive
information in support of its request 101 extradition it may consult the requested
State to detennjne the extent to Which the information can be protected by the requested
' State. Ifthe requested State cannot protect_ the informalion` m the manner sought hy the 4

requesting State, the requesting State shall determine whether the information shall 4
nonetheless be Submitte.’ 1

B. Article 14 cf the U S. -EU Extradition Agrc_eincht shall govern consultations where the
Requesting S_tate contemplates the submission or "particularly sensitive infonnation m
support of a_ request for extradition and shall supplement the provisions of the l996 Treaty
on l:`xtradition.

VIII

ln _accord'an`cc with Articlc 16 of the U. S .-EU Extrad_ition Agree_mcnt, this Instmmcnt shall apply to

offenses committed before as well as after it enters into force

This Insnp.ment shall not apply to requests for extradition made prior to its entry into force.
- I`X

'lhis Instrurnent shztll be subject to the completion by the United States of_Amer_lc-a and Fiance ot`
any necessary applicable internal procedures for entry into force The Govemments of the United
Sta tes of '\rnerica and the French Republic shall thereupon exchenge` instruments indicating that

any such measures have been completed 'I'his Insn'umcnt shall enter into force on the date lof entry _

into force of the U S »EU Extradition Agrcement

In the event of te-'nunavo'i of the U. S -EU thradition Agrcement this Ins(rument snell be
tei'zm nated and the 1996 Treaty on Extrao`ition shall be applied

 

 

 

 

 

 

 

 

 

 

lN W'I".['NESS WHEREOF, the un_dC-rsignzd, being'duly authglized by their respective
Govcmmenfs, havc'signed this hstrumeut

‘DoNE amc Hague, m dupli¢aw, this §Q»day of J,MEE¢' o?w$‘ in the Engris`h' md
Frcnch lemguag"es, both texts being equally authmtic. 1
' /` .. -

- FOR rim G'oVERI~nleNT oF
. ma FRENCH REPUBLIC;

FOR THE GovEl§Nz\/`rez\=*r oF l
'THE UNm§D sTATEs oF AMERICA;

 

 

 

 

 

10

 

 

`IDSTH Cor~gczmss ‘I_‘x_u:ATY Doc.
Ist Sessiz_$n - 105-13

 

 

MESSAGE '
TH_E PR_ESH)ENT OF':'H`IE UNITED S TES

EXTRADITION 'TREATY BETWEEN 'l'HE‘L.lN{lTED STATES OF
AMERIQA AN'D FRANCE, SIGNED AT PARIS` ON APRIL,ZB, 1996

JIJI;.Y §,' 1997.--’1"réaty was read the first time and, _together with the
acéompanying_~ papers, referred to the. Commitlee_ on Foreign Re!ations
and ordered to beipn`nted for the'use of the Senate

U.S. GOVERNMENT PRINTING OF~FICE
WASHINGTON ! 1997

 

 

 

LE'i~r`ER»oF TRANSMTTAL

THE Wm'm HousE, Ju`ly'g_. 1997.

To the Senate of the United States:1 , _ -
With a view to'receiving the advice and consent of..the Se_nate to
ratiiication, I transmit herewith - the _Extradition Treat`y between
~ §hge 1United States of America and France, signed at Paris on Apn'l
, 996. ' , . l
` In 'addition,` l transmit, for the information of the Senate,_ the re-
port'of_the Department'of State-with respect to the Treaty. As the
report explains, the_ 'l-‘reaty will not require implementing legisla-
tion. ` ' . '. ' ' -
~ This zTreaty wiJl, upon entry into force,_ enhance cooperation be-
tween the law enforcement communities of both countri'es. lt will
thereby make a significant contribution to. international law en-
_ forcement eifoi'ts.- _ ' l ` _ ‘ '
The provisions in this Treaty, which includes an Agreed Minute,
follow generally the form and content-'of` extradition treaties re-
cently concluded by the United States. ' ' -
I recommend that the _Senate give early and favorable consider-
ation to- the_Treat`y' and give its advice and consent to ratification
-‘ ' ‘j“ . - WILLLAM J. CLINTON.

' ' h ‘ (In)

 

 

LETTER 0F sUBmT'rAL
l ` DERARTMENT or STATE,
.. ' ' . . .Washz`n.gto{?._, June 13, 1997'.'
'I_`HE PRESIDENT: l have the honor to submit to_ you the Extra-
dition Tr`eaty between the United States of Amen'ca` and Fra'nce
(“the._'l'reat;;f’), signed at Paiis on April 23, 1996. l recommend that
` the trea , whichl includes an Agreed Minute-,.be transmitted to the

Senate` for its-advice and consent to ratification

gotia,ting' delegation.' ’_l'lie treaty.represents. part_of_a concerted ef-
fort b`y the Department of State and the.Department of. Justice to .
develop modern extradition relationships to enhance the United
States ability to_prosecilte serious offenders including, especially,
narcotics trailickers and terrorists_. ` _ - _ '

_ The Treaty_marks a significant step in bilateral cooperation be~
tween the United States_and' France. Upon,enti'y`in_to 'force,

replace the Treaty 'of `Extrad.i'tion between the United States of
'Al`iierica _and the 'Republic of Franc_e signed _at Pari`s on January._S,
1909 and'entered:-inw force on Julj¢ 27, 1911, and the Supple~
~ meniary Extradition'€onvention signed at Paris on February_lZ,
l 1970, With exchanges of letters 'of_June 2 and 11, -1970, and entered

into force‘on A’pril 3, 1971.' That tr aty has become outmoded, and
the new Treaty will provide significant improvements The Treaty
can be implemented without legislation - -
~Article l obligates each Contracting ~State to',extradite to the
other, plirsuant to the provisions of the Treaty, any person`_who!n
the competent authorities in the questing State have charged
With or convicted of an extraditable ofl`ense. . ,. ._
Al'.ticle 2(1) defines extraditable offenses as acts punished finder
the laws of both States by depz'ivation,of liberty for a masfimum.of
by a more severe penalty. Use of such a “dual

ather than a list of offenses covered b
Treaiy obviates the need to renegotiate or supplement the Treaty
as additional offenses become punishable under the laws of both
Contracting States. ' »
Art`icle' 2_(2~)-defines an extraditable offense to include also an at-
tempt`or a cons iracy to commit, or participation in the commission

ot`, an extradite le oH'ense. . _ " ' ~_
Addition`al ile)dbility is provided by Article 2(3), which provides
t an odenee.shall be considered an extraditable offense: (1)
whether or not. the laws'in _.the Contracting States place the offense

m.

 

within the same category of oii`enses or describe the offense by the z
same`terminology;_;or (2) whether or-not the offense is one for.which
United States federal law requires the showing of such matters as
interstate transportation or use of the mails`or of other facilities af-_
footing interstate or foreign commerce, such matters being merely
for the purpose of establishing jurisdiction in a United States fed-
eral coui_‘t. _ ' . -

With regard to an offense committed outside the territory of the

' Requestin'g\ State, ,Article` 2(4)` provides that extradition shall be

v granted w en the laws of the Requested State authorize the pros-

ecution or provide for the punishment of that od`ense- in similar cir-

cumstances The United States recognizes the"‘extrat_erritorial ap-

plication of many of its criminal statutes and frequently makes-re-

quests for iiigi'tives whose criminal activity occurred in foreign

` §ountries with the intent, actual or implied, of affecting the United
tates.' ' ~

' Ii` an extradition request concerns~disti_n'ct acts,-each punishable .
by deprivation of liberty in both S_tates` but not all of which meet ‘
the requirements of Article- 2(1) and _2(2), Article 2(5) nevertheless
requires extradition for all of the acts. ` ' ` ‘ , '

A.rticle 2(`6) provides that extradition shall be'- granted pursuant '
to the terms of Artic'le 2(1) and 2(2)~1`11 matters concerning tax, cus-
toms duty, and foreign exchange offenses 1 4 -` ' `

Article 3(1) declares that neither State has an obligation to ex-
tradite its own nationals, but the executive authority o`f' the United
States shall have the discretion to do so. The nationality of the per-_
son sought shall be “the nationality of the_person at.the time the
ofi`ense._was committed ‘ " ._ - '

Article'3(2) requires a State that refuses en extradition request

- solely on the basis of the nationality of the person sought to submit
` the case to its authorities for prosecution, if so requested 'l:>y the Re-

questing State.` :' " , - , n -
As"is customary in extradition treaties, Article~4 incorporates-a
political offense exception to the obligation to extradite._ Ar'ticle 4(1)
- states that.France shall not grant extradition for an odens_e consid-
4 ered'by France to be a political Offense', an offense connected with
k a' political ofi`ense, or an '_off`ense inspired by'poliiical__.r'notiv‘es. Arti~`
ole 4(1) also states that the United States shall not grant extra-
dition for an offense considered by the United States to he a politi~'
cal offense - c ~ '

Article '4(2) specifies six categories o_t` oli`enses that shall not be

considered to be.poh'tica`l oH`enses:_ ' `

~ (a) a murder o'r other willful crime against the person of a
He_ad.of State of one of the'Coiitre.cting States, or cfa member
of the Head of State’s family, or any attempt or conspiracy to
commit, or participation in, any o_f the foregoingofi`ensesj '

(_b)- an oii`e_nse for which both Contracting Partie‘s are obliged
pursuant to a multilat,eral agreement to extradite the 're-`
quested person or to submit the case to their competent au-
thorities for decision as to prb'secution; . '

(c) _a serious offense involving an attack against the life,~
physical integrity or liberty of internationally protected per-

sons, including diplomatic ogents;

 

 

(d) an offense involving kidnapping the taking of a hostage
or any other form of unlawful detention; _ ' _

(e)-an offense involving the use of a bomb, grenade;_ rocket, '
automatic firearm or'letter or parcel bomb if this use endanj
gers persons; or b _ _

.` f`) _an attempt or conspiracy to commit, or participation in,
alny of the-offenses listed in paragraphs 2(b), 2(c), 2(d) or 2_(€)
a ove-. .

Article 4(3) creates a regime similar to that of the European Con~
vention on Terrorism, in that the Requested State may deny extra-_
ditiori for any of the offenses mentioned in paragraphs Z(b).-Z(fl
above, .iu' accordance with the provisions of Article ‘4(1).. _However,
in evaluating the character of an'o ense, the Re`ques-ted ._State is re-
q!uired to consider its particularly serious nature, if applicable,=-in-

<`C ` that it created a collective danger.to life, physical-integrity .
rty' of_ persons, that it affected persons not connected to the
motives behind it, -or that cruel or treacherous means were used m
the commission of the oH`ense. _' - . 4 t » . ,
Article 4(4) provides that extradition shall not be granted if the
_. executive authority in the case of the United States or the com-
, etent authorities‘in the case of `France have substantial grounds
or believing that the request`was for the purpose of prosecuting or `
punishing a person on account of that person*s raoe, religion,j na-
tionality or political opinions.' . .. ` _ '

Article 5 permits the parties to~deny extradition for an offense
that is exclusively _a military oii`ense (for example, desertion). ‘ ' _

' permits denial of an~ extradition request when surrender
of the person might entail exceptionally serious consequences relat~
ed to age or health. 4 ' - ' ‘

" - Article 7(1) permits denial of an extradition request for an of~
tense-punishable by death in the Requesting State but not in the -
Req'uested` State, unless the Requesting- State provides'_the'a'ssur-

~ance that the death penalty wil _not be imposed or, if imposed, \vill
not be carried out. Article 7(2)'_declares that the death genalty, ._if
impo'sed_by the courts of the`Requesting State, shall not e'carried
out in instances When a Re' meeting Stat_e has.provided an assur-
ance.in accordance-with Artic e` 7(1). - ' ' ' ‘
Article.S_ bars extradition when the person sought has been con¢ _ _
victed or acquitted in the Requested State for the same oti`ense, but
does n'ot bar extradition if the competent authorities in the -Re-
quested State have declined`to prosecute o_z" have decided to diS-.

tent possible under its laws. _ ` , _
_ »Article '10` establishes the procedures and describes the docu-
ments that are required to support an extradition request.{ The A~r-
' ticle requires that all requests for extradition be submitted through
the diplomatic channel. ~Article lO(B)(c) provides that a request for
the extradition of a person sought`for prosecution be supported by
a duly authenticated copy of the warrant o_r order'of arrest and, for .

 

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~. “"§§,
' ~r~`_ > -’_.
‘ 'r-fm.}"£=}§’?§££.a

VIII

requests by the United States, the charging edocumeut, or_i`or.re-
quests bylFrance, the original or a duly authenticated copy of the
warrant or orde_r of arrest and such information as would justify

“the committal for trial of the person if the oFi'ense had been corn-
mitted in the United States - ~

Artiole 11. establishes the procedures under which documents
submitted pursuant to the provisions of this 'l‘reaty shall be re~ ‘
ceive_d and admitted into evidence in each State.‘ '

Article 12 requires all documents submitted-by the Requestin`g
State to be translated into the language of_'the Requested State.

Articie 13' sets forth proceduresfor the provisional arrest and 'de-
tention of a person sought pending presentation of the formal re~
quest for extradition A request for provisional arrest may be sub~
mitted directly between‘the U.S. Department""of-Jiistice' and the
Ministry of Justice of the French Republic by means of the facilities
of the International C_rirninal Police Organ'ization (lNTEB_.POLl or
through the` diplomatic channel. Article 13(4) provides that if the .
Requested State’s.executive authority has not received the request
for extradition and supporting documentation within sixty`days
after the provisional arrest, the person may be, discharged from
custody. Article 13(5) provides explicitly that discharge ii‘om_ cus-

. tody_ pursuant to A.rticle ~13(4) does not pre`udice subsequent re-
arrest and extradition upori~'later delivery of tlie extradition request-
{an.d supporting documents.." _ . ' _ _` - z 4

»Article 14. sets forth procedures by which the Requested State
may seek additional information in‘ support of an extradition re- '
quest to fulfill the requirements oi` the '.l'reaty'and provides for re-

' lease from-custody of a person under arrest for purposes,oi' extra- _
dition if the additional information is not sufficient or not received
within the~tixne.specified. ` ‘ . .. ' . .

_Articie 15,4 speciEes the procedures governing'surrender and re~,
turn of persons__sought. It requires the Requested State to provide
prompt notice to_ the `Requestin_g State through the diplomatic chan~f .
nel regarding-its extradition decision If the request is denied in
whole or in part, Article 15(2) requires the Requesting State to pro- '
vide information regarding the reasons therefor. If extradition.is
granted,- the‘authoriti`es.of the Contracting States shall agree o_n
the date and place for surrender_ot` the person sought If the person
is not removed from the‘territory of the United States within the
time prescribed by its law or within 30 days-from the surrender
date set in accordance with Article 15(3_) in the case-of France,. that
person maybe discharged from custody;and'_the?Requested 'State
may subsequently refuse extradition for-the same ol’i`ense.‘ ‘ '

' ~Article 16 concerns temporary and deferred surrender.' lf a per--
son whose extradition is sought is being prosecuted or is serving
a sentence in the Requested State, that State may temporarily sur-

_ render the person to the Requesting State solely for the purpose of '
prosecution Alternstive`iy, the Requested State may postpone the
extradition proceedings until _its prosecution has been concluded
and the sentence.hae been served. . ` ~ ' '

Articl`e 1~7 sets forth a non-exclusive list of factors to be consid- .
ered by the Requested State in determining to Which State to sur~ -
-render_a person sought by more than one State. '

 

Article 18 provides for the seizure and surrender to the Request~
ing State of property connected with the offense for which extra-4
~ `tion~ is granted, to the extent permitted under the law of the Re-

quested State. Such pro erty maybe surrendered even when extra-

dition cannot he effects due to_the desth, disappearance, or escape
_of the erson sought Surrender of property may be deferred if it
is nee ed as evidence in the Requested State' and .may b_e ‘co_n_di¢
tioned upon satisfactory assurances that it will be returned to.the

5 Requested State as _soon as practicable Article 18(3) imposes ali Ob~
ligation to respect the rights of third parties in aii`e'cted' property

Article 19 sets forth the rule of speciali_ty. lt provides, subject to
specific exceptions,.that a person extradited under the Treaty may
not-be detained, tried, convicted,- punished, or subjected to any re'-
striction of his freedom for an offense other than that for Whi<_:h_ eil-
tradition has been granted, unless the R_equested State has given
it consent or the extradited person leaves the Requesting State
after extradition and voluntarily returns to it or fails to leave_the
Requestin_g 'State within thirty days of being free t_o do so. Aa'ticl`e
19(2)`addresses situations where the denomination of an offense for
which`a person has been extradited is altered during the proceed-
ings in the Requested State. ‘ '

Article 20 provides that the Requesting State may not extradite
a person to a third 'Stato for an~oi`t`ense committed prior to the

original surrender unless the Requested State consents or the per- -

son did not leave the territory of the Requesting- State within thirty
iiast when given an opportunity to do so, or returned after having
e it. ' " . - .

` Article 21 governs the transit through the territory of one Con~

tracting State of a person being surrendered to the other State by

a third State. '. ' _' - 4
'Article 22 contains provisions on representation and expenses

The Requested State is»requi`red to advise and'assist.the` Request‘

ing State in accordance with the 'Agreed Minute on -Representation

` __ that forms an integral part of the Treaty.and_'is discussed in detail

in the Tech_.nical Analysis. ‘ 4 ' , ` _

Under Article 22(2), the Requesting State is' required to bear the
expenses related to the translation of documents and the transpor-

. tation`of the person surrendered Article 22(3) clarifies that neither `
State shall make any pecimia_:¢y claim against the other'State aris-
ing 'o\it of . the arrest,'detenti`on, examination, or surrender pf per'-_ -
sons sought under the`T`reaty. .' _ _ ` ‘ z _ . . `

Arti_cle 23 states that the United States Department of Ju'stice
and the Ministry of Justice of the French.Repuhlic may consult
with each other directly or through the facilities of INTERPOL in
connection with the processing of individual cases _and in further-
§nce of maintaining and improving Treaty implementation proce~

ures. ,

Artic`le 24(1), like the parallel-provision in almost all recent Unit-
ed States extradition treaties, states that the Treaty shall apply to
offenses committed before as well as after the date the ';[’reaty en-
ters into force. 'Upon entry into force of the Treaty, Article 24(2)'
provides that the current 'l‘reaty of Extradition between the United
States and France signed January 6, 1909 and the_ Supple`ment'ary
(_Jonvention signed February 12, 1970, with exchanges of letters

 

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Sign_ed June 2 and 11, 1970, shall cease to have effect, except for
a proceedings.in which extradition documents have alrea_dy been
su mitted to the courts of the Requested'State at the time `the
Treaty enters into force. . _ ` . . .
Alticle 25 provides that each Contracting State shall noi_:lfy the
other of the completion of the constitutional procedures_ req\u.red for
ratification of,the Treaty, and th`e_ Treaty shall enter 1n_to for_ce on_
th'e first da of the_~_second month following the’dai;e -of recexpt of
the last notification . ', 4 ~
Under Article 26,.either Contracting State may-terminate izhe
Tl'@&t.')’ _at `any time upon written notice to the other Contractmg
State, with.`termination eH`ective six' months Sii’cer~ the date of ~re-
ceipt of such notice. - w `-' v _ . _ ‘ ,
As noted above,-a Technical Analysis explaining in detail the pro-
visions of the Treaty is being prepared by the,United States nego~
tiatin`g delegation and will be submitted separately to the Se'nate
.Commjttee on Foreign Relati`ons..' . _ 1 _ `
The Department _f -Justice joins the Department oi; State m feel
vori_ng approval-of this Treaty, including the Agreed Mmute, by the
vSenate at an,early dai;e. _ ' ' ` . ‘ - ' _
~ Respectfully submitted, '

MADE_LEmE Awmem.

 

 

 

EXTRADITLON TREATY '

TWEEN

BE

THE UNITED STATES UF ANERICA

 

 

 

 

 

The ?resident of the United states`o£ hmocica and the

President cf the French Republic,

Recallinq the E§ttndition.Treaty and accompanying

Protoco! between the.Uhited stokes of Amer§cn,and the Republlc
of Frnnce sdgned at Poris January 6, 1909 and the Sopplementary
Convention signed ot Fa:is'Februar! 12,‘197? yith Exchange; of
bettors of June 1 and Ii, 1570} E` \"- ._`.'-
uoting that the§e creation ecntinue in force Eetween the_
Government o£`the United Stétes of America a d the Guvetnment
of the F:ench Republic until entry into force of this ¥renty;
land _ n _ l
4_ Desirinq to provide‘£o: more effective cooper§tion
-bétween the two States in the suppression of crime and fo
facilitate relations between the twa States in the_orea of
zextradition by concluding o treaty fox the axtcodition of
offendexs: ‘ t ‘ ' 4
Have decided to conclude a new extradition treaty and
have appointed as their plenipotentiorie§ for this purpo$ez
'*Fhe P:eeident of the United Sta€es of Aderica: .
»hha Honqroble,-Janec Reno, Ahtnrney Genernl of the
united States of hmeriéa; _ n
` rhe'presioéne ms ,ch_e French aeponucz
The Honoreble, Jncqnes Toubon;‘Mini§ter oz Justice;
`Nho, having communicated to each:other éheit tespeetive

full powers, which were found in good and due Eorm,§ha?e.ag:eed

as follows;

 

 

 

 

 

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" Artic]e l

Obligation to Exl;radik:e

The Contracting states agree to extradite to. each othet,

pursuant to the provisions of this Treaty, bexsuns whom the
competent authorities in the Requesting State have pharg`ed 95th
or found .gullty`of an extraditable offense.

 

 

 

Article 2

Extraditable `Oft'enses

l. - Acts shall be extraditable if they are punished

under the laws in both States- by"de_pri'votio:c of liberty for a`

ri\aximu:n of at` least one year 'or .by a more‘ severe penali:y. 1£

extradition is requested fur purposes of enforcing a judgment.

the time remaining to be served must be at least six,m'ontlxs.

 

2. -An.r)f£ense shall false be an. ektrqditable offense i‘f
it consists of_ n_n attempt or a Conspiracy to culmit., ur'.
participation in““the comnleeion o£, an oEEense'described in
paragraph 1. z ' ` b z n

_-». _For the purposes o/.` this Artjcl

e, `an offense shall
` l .
be an extraditable offense:`

(a) whether or not the laus,' in the dontra`ctihg

states place.the offense within'!;he same

ce`tegory of offenses or describe the offense

by the `same rarminqlc'gy; or '

 

 

 

 

 

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' larger ‘

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whether or not the offense is one for which
United States federal law requires proof or an
_élemant of proof, such as passage from one
_state to knother, the use»oE the nai]s, wire,
and other fnbilities of interstate or tareign
comnarce,.or the effects upon such connerce,
since such an elemené ii cequire§ far the sole
purpose of establishinh the jurisdibtion'o£
United States federal courts. x
l 4. gxtradition shall'he granted far nn extraditable
offense committed outside the territdry of the Re§uesting
State, when the laws of the Requested §tnte authorize the
nprasecution or provide for the punishment of.thnt offense in
similar circumstances.
S. ,'It the extradition re§uest concerns distinct acts.
each punishable under the-laws of the two States by the
deprivation b£ liberty, and itisome`o£ the acts dd not fulfill

the cnndibions'set`forth in Faragraphs l and i of‘thia_hrticla.

the,Requesten State shall nonetheless grant extradition hased

upon such?aéta. '
.6: In matters concerning tax, cnstoms:duty, and
forei§n exchange.¢£fenses, extradition shall be granted
pursuant tn the.te:ms set`£orth in paragraphs 1 and §“of this

Article.

 

 

 

 

 

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Ar-ti'c']e 3
>Nat:ion_aliky
1. ' There is'no obligation upon the Requested Stat_e to
grant ,the extradition of a person. who is a national oE. the
Requested S\‘.`ate, b\it the _execul:ive.' authori‘t};' o.£ the United
X_Stat'es` shall laan the power to surrender a national of the
United States iE, in its aiscretion, it deems iz- proper t_o du
so. The nationality pf the person sought shell be the
nationality b\E that person at the time ,thé c_:ffense was

ccn\mitted.

2. 1£ extradition is refused solely_on the basis of

the nationality of the person sought, the Reques:ed St_ate
shall,' at the request- o£ the>Requescing state, submit the‘c:ase

.to its authorities for prosecution.'

Iu:ticlei 4
Politicai of£§nses

l. l Extradition shail not be granted by Franc:e when thé
offense for which extradition is ieqnested is considered by
E:ance_ ss a political offense or as an_ §)ffensé sonnected with a
political offense or as nn sffense inspired mrv political
motives. _' Bstradition »sha_ll not be ";cani:ed; by the'Unite_d Sta_bes
when hhe offense for which extradition is requ-ested is

considered by eve univea’s;a£es to be § political offense.

 

 

 

 

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2. For the p'ur§osas of this Treaty, end in accordance
with paragroi)h 1 of'this .A:ticle, the following offenses shall

not be considered to be political offenses§

l (a)' a murder or a willful crime against the person

o_t' a need of S.tate of one of the 'Co'ntracting
States, or a member of his _or 'her` famil}', or
sr\y._att'empt or consniracy to cenmit, or
oarticipation in, any of themfo:`r"é.ga$nq
_ offenses; `
nn offense for which both Con!:ractin§ S'tates(
csc obliged pursuant\to' a multilaternl
agreement to- extredite, the requested pierson or
to submit the c_ase ,to' the competent n
authorities for decision as to piosecotion;
a serious offense involving on attack against
lthe life,' physical integrity_or liberty of
internationally p'rotected persons, including
dinlomatic egentsj l
' an offense involving kidnapping, “the-taking of
-a hostage or any other form at unlawful
detentions ‘
an offense involving the use oE a bomd,
grenade, roc‘l»:et, ’eutom,ntic firearm c>i:-l'lettm"'l
or pascal Bombl'if this use'ennangers-pers`ons; n

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(£L an attempt or conspiracy to commit, or
participation in, any of the offenses listed
in paragraphs Q(b§, 2(¢), 2(d) or Z(e) of this
Article.

3. The Requsstéd Stnte nay deny extradition of persons
who comhitted any of the.offenses mentioned in paragraphs i(b),
Z(c), Z(d), Z(e), and 2(§) of this Article pursuant to the
provisions cf paragraph l of this Articlet- n

In evaluating the character of the offense; the~»
Requested state shall take into consideration the particularly
serious nature of the aifense, including:

(n). that it created a collective danger to the_
li£e, physical integrity or liberty o£.persons;

(h). that it affected persons foreign to the

motives behind it; or '
(c) that cruel_or treacherous means have been used
in the commission of the offense.
d. Extraoition shall not ne granted if the executive
'authority in the case of the United States ct the competent
authorities in the case of Fronce have substantial grounds for

nw
believing that the request was for the purpose of prosecuting

. . .
or punishing a person on account of that person‘s race,

religion, nationality or political opinions.

 

 

 

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Arti cle 5

Mili tsry Offenses'

Eitraditlon shall not be granted ~iE the offense _in
respect of which it is requested is exclusively a military

offense

 

Article 6

Humanita ri an Considcrutinns

‘l'his Treaty does not prevent the executive authority ln
the-case 'of thel United States or the competent'author:ities in
the case of France. from denying extradition when surrender of
the person mightent_ai_l'excep_ti_onall_y serious consequences '

celated' tc age or h'ealth.

Article 7
Capital P\lnis}ment
.' `1'. - _wnen the offensel£or which extradition is sought is
punishéble by'denth under the laws in the Reguestlng_$tate_and
is not punishable by death under the lawn in the Requested
State_, the Reques'te_d State may refuse extradition unless the
Req|uesting State provides the assurance that the death penalty

will nat he imposed or, if lmposed, will net be carried out.

 

 

 

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2. fn instances in which a Requesting.Stute provi&es
the assurance_in accordance with thls Article, the death
penolty,'if.imposed by the courts of the Requesting Stateb

shull not be carried out.

Artic]e 8
Prior Prosccution

1. 'Extraditicn shall'nnt be grhnted when the person

;sought has been finvlly cunvicted or acquitted in the Recuestcd

State for the dffense for which extraditinn is requested.

'2. Extrvdition shall not he refused on the grounds

‘that the authorities in the Requestad Btata have decided not to

§rosecute the person sought for the acts for which extradition
is requested, or to discontinue any criminal proceedings whicn`

nave been instituted against the person sought for those octs.

Article 9

Lapse of Time

¢

1. ` Eztradition shall be senicd if prosecution nE the

offense or czecutiun_o£ the penalty has been barred by lapse of

time-under the laws of the Raquested State»
2. Acts in tdc Requesting'$tate that would interrupt

or susnend the prescriptive period are to be taken into account

by the neuuested.$totc to tdc extent Dosaibln_unncr'its léws.

 

 

 

 

 

 

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article m

Extradition Procedures and Required Documents.

. l; All requests for extradition shall de submitted

through the diplomatic channel.
> ` .2. vAll requests shall be supported nyc
(a) -documents.~sta!:erncnts‘, or other types of
information which state the ll`ationality.
probable location, and also describe the
identity at the person sought in order to
establish that the person is the subject of
the prosecution or convictions
infornation describing the facts of the
oEEense and the procedural history 'o£ the
case; . 4 _ ~, .
the text of the provisions describing the _
offense for which extradition is requested; 'an»:l
(d) _-the text of the law prescribing the punishment
for the offense _ ~

.,._'

‘3. A request{for extradition of a person who i's sought
for prosecution shall also be supported by: "
(a) in the case of a'_ request submitted _b$) the
. _l)nited States, a duly authenticated._.copy of
the warrant or order cf arrest and the

cha rgi.ng document ; ` or

 

 

 

 

 

 

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rf the offense had been

trial of the person

ng to a person who

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commxtted‘in the united stares.

A request for extredit

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has been found guilty or

convicted of the offense for which

extradition is sought shall also be supported by

the case of a.request by the United States.

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f thé person has_been convicted, the orig

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or a'duly authenticated copy of the final

judgment of conviction, or. if the person has

been round guilty but has not yet been

cia

sentenced, a statement by a judi

1 authority

s been found guilty, a

a

nd

that the person ha
duly authenticated c

opy of the warrant of

the case of a request by France, the

l.h

(b}

 

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or a duly authenticaté

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judgment'of

nconviction
ll cases nhere a sentence has been

final

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imposed,.a statement of the remainder of the

sentence to be served; and

'(d) '1n the case of a person who has been found

guilty in a

bsentia, the documents required by

paragraph 3.

 

 

 

 

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Article 11
Admissibility of Documepts
The documents which acéompany en e;tradition r§quent
~shall be recaiveq and admitted as_evidence in extr$ditian
pcoceédiéqs if: _ d
(a)4 ir_\ the case 6£ s req\]est`f_ror§__the United,Stat§s,
they via transmit€e§ through the gipibmatic channel
(v) ~in fha case of § §equest from évance, they are
betti£ied by the principal diplomatic Gc principal
copsulnr officer of the United States residené in
Fr§nc§, ns provided by the e§trndition laws bf the

'United States, o; they are certified §r

au£henticated in any-other manner acqebted by the

laws of the United States.

Article li
Translation
~w ,,

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' Al; document§ submitted by the Rehuesting State shull.be`

tran§lated'into the language of the_Reqhesced State.

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“~”§“ M§Msstn§

.‘¢_:"

 

 

 

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Article 13

Frovisional Arrest

l. fn cane ot urgency, a.Contracting State mny request
the provisional arrest nf.the pnrson sought pending
presentation of the request for extradition. A request for
provisional arrest may de transmitted directl§ between the
united States Department of Justiqe end the Ministry oE_Justiée_
of the French Republic, by means of the facilities of the”

Internatlonal Crimlnal Police Orgnnization (IN?ERPOL), nt,

through the diplomatic ch_annel.
d 2, ` The application for provisional nrrest shall
contain§

(a) a description of the person sought -and
information concerning the person's
nationallty;
the location of tbé person sought, if k gunn
a nrief statement of the facts of the c se,
including the location and'npprnximnte ate_o£
the oifense;

h description of the laws violated:

la statement of thé existence cf a warrant of
arrest or a finding of guilt or judgment of
conviction against the:person sought; end
a statement that a r§guest for extradition inc

the person sought will follow.

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3. The Requesting State shall be notified withoutv .
delay of the dispbs§tlon of its application and the reasons for

any dcnial. .
4._ A person who is provisionally arrésted may be
discharged £rdm custody upon the~explration of sixty (50) days
from the dotn of provisional priest pursuant to this Treaty it
tva ncqugsted_$tate has not received the §cxmsl request for
extradition and the supporting dqcunents required by Artitle 10.
- 5. The fact that the person'sought has been nischscgnd
from custody pursuant to paragraph 4 o£ this Article shall not
prejudice the subsequent rea:rest and extradition of that
pe:snn if the extradition request and sunpuxtind documents are

delivered at a later date.

Article 14 ’

Additional Informatian

If thg Requested Stnté considers thdt the
'in£ormatinn furnished.in spppn!t of n request int extréditlnn
is not sufficient to fulfill the requirénents of this Tresty.
that State may request that additional information bn iurnishéd
within such reasonable length of time as it.sgeci£les. 'Sucn
additional infornation mny be requested and furnished directly

between the_vnited States Department di Justiqe and the

dinistry of Justlce of F:ance_or through the diplomatlc channell

 

 

 

 

 

 

 

 

 

 

 

 

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2. I£ the person sought is under arrest Ebr 1?\“'1'[>"5*'3`s

of ertrnditicn and'the additional information furnished is not
>su£ficient or is not received within tha time specified,`the

person may bé released from custody. Such release shall not
preclude the Requestin§`$tete from making another request in
respect of the same or any other cf£ense4

3. when the person is released from custody in
accordance with paragraph 2, the Requested Stnte shall notify

the Requesting Stote as soon as practicable. t -

Article 15

Decision and Surrendcr

4. The>Requested State shall notify as such us_
.possible the Requesting state o£ its decision on the request
for extradition.' z '

2. !f the request is denied in whole_or in patti the
Requested Stete shall urovide an,eiplanatdnn of the reasons for

`the denial.‘ The Requested State.shall provide copies of

Pertinent judigial decisions upon request.

3. Ii~the request for extradition is granted, the.

authorities-of the Contracting States shall agree'on the date
rand place for the surrender cf_the person sought. The
Requented state shall a1so notify the Requesting State of the
length of time the person has spent in detention for purgosesu

or eee`;;aieion,

 

 

 

 

 

 

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4. I£ the person sought is not Aremoved from the
teé:itury of the`R¢'zqueste§ State within the time prescribed by
its law in t_he case of thé waited States_, or in the case of _
Frnnce within .30 days from dba date se_t for the surrender in

"accu,rdance:with' paragraph-3 bi this Article., that person may be
discharged from c'ust.'ody, and the Requesl:e-‘d $tér.e moy
sub'seguently refuse e`xtraditim; for the 'sume offense.-

l l 5.' In the event circumstance§"_$eyond *\:he cdntrol of
eithe:. Con\:racting Sta.§;e preclth thé surr:;zndéi-'or reception of
the person sought. the Contx:actir;g Stutes sHall` agree cn a new

date for the surrendex, s'ml the provisions of §arograp‘n -l of

this Article shall' apply.

A):ticle la

Tempora'cy and Deferred S\irrender

l. ` If hhé extr$dition re_qugst‘ is gr'ant'gd in the case
cE a person who is bging prosecuted cr is saving is siemean in
'§__he negoested §!:»ata. the Reqnested~$tate moy tel'“por`arily
_'s§\rcende: the pers§n s'oug!\\: to_ the Requesting S_tste for tire
;;urpose of p§osecuti§n. °.I`he yer§cn s'o surrendered shall bé
kept in évstcdy in the 'Requesting -'=`tlsl:a la_m:`i Shi\ll b_e returned
t`o the Requested St`a\:e a_Etér the conclusion-of the proéeedings
-against that P;_rsoh,, in accordance with conditinn's to be>

`éet¢rmined by mutual" agréement nf` the.Ccntracting States.

 

 

 

 

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weir . ’ 51 m`1; e;~?~,

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2. The Requested S_eate may postpone the extradition
proceedings against s.person w'h'o- is being presecuted cr who i'sl
serving a sentence in tlhat Stahe. The pestponement may
continue until the prosecution of the person sought has 'heen

canc'lxide'dl_and any sentence has been served.

. - _ 'Aéricle}lv

Reqpests for Ert`raditicn blade by Several States

extradition of the.some per'son. either for 'the same of_l;'ense or
for different offenses, rha executive authority in the case 'qf

cas_e- of

0 which St_ate the person will he _
surrendered In making its' dedision, the,-Requ.este§ Staée shall
consider all`re!evant factors-f including but. not limited to:

_whether the requests were made pursuant “to treaty; the place
where each offense blas committ_'ed; the respeeti§e' inhereate pf. ~ '

the requesting States; the gravity of the offenses; the

nationality of`the person so\'th_t and .l:he v'

`Pp'ssiniiiey or further eitnai:i<m between

States,' and the chronological drde: fn whic

received from the requesting St"nt:es.

 

 

 

 

 

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Article lE_
, seizure and surrender of Property
' l

1. re the azeene_pernieesa under its law, the
nequested SraL~e may seize and surrender to the F!eqwe.~»!:ir-gv Stace
all articles; documents, and evidence connected with kyne v
offense in respect of wh.ic_h estredition is gdranted. The
art‘icles. documents} and evidence mention"e`d in t`h_l~:': Arcicle may
be surrendered even when the extradition cannot be effected
because of the dent-ih disappearan¢e, dr escape of the person
scught. _ '

.Z. 'l`_h:e Requested_ State m_a-y condition the surrender of
'the property upon satisfactory assurances from the Requesting
share that the pronerty will be rcrurn`ed to che'ne£;uesred seats
as soon as prac-l:ic_:at:!lel 'The Requested State. may else defer the
Surfehd§l~'-¢.>f F“`Ch PZOP¢N:Y' if.it is needed as`evidence in the
Reques.ted_ St§te,- v ' _ "

3. Thev rights o|t' third parties i'n sucn property shall

be du ly respected:‘.

Artinle 19

Rule of 'Speciality

l. A person extradited under chis Treaty shall not be
det:_ained, trie¢}. convicted punished, ur subjected ho any

restriction of his freedom_ Sn the territory of the'Requesting

 

 

 

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State for any act prior to the person‘s surrender, Other than
the offense for which extradition has been qunbéd. exBEP'? in
the Eo!lawing cases:

(a) when the Requasted Stgte has given its

 

consent. h request for such purpose may be
suhmitted§ together with the documents listed
in Artiele 10} and any statements mpde by the
person extr;aited concerning the_p£§ense for
which the consent o£ the Requested stntn`is
requested; or . 1 l

uhen. having had the opportunity to do so. the
person extradited did not leave the territory
of the Heguesting State within 30 days of his
final release, or returned to the tefritory of
the Hequestfng State after having left it.

2. ft the denomination.of the offense for which a

person has been extradited is altered during the pruceedings

under the laks of the Requesting-State or such a person is
charged with_n differently denominated oifense. the.pexson
,_shall be prosecuted or sentenced provided the offense under its
new legal de;tription is:
(h) hased_on the same set of facts contained in
the extradition request and its supporting
documents; and. l , -

.punishable by the same maximum penalty qs. or

 

a lesser maximum penalty than, the offense fur

which he was extradited.'

 

 

 

 

 

 

 

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l Artic}e 20
Reextraditi¢m to a' Third Stats
, . ` _ \
_ 1. when a person has been §u:rendered by the Requested
.State to the Reques§§ng State, the nequesting State shall nat
surreéder the bergen e§trndited to a third Statc for an offense
prior tb the person‘s surrendér, unless:_
(a) the ‘Requeste-\‘L Stx`\te consczn`t:s`"to"s'uch_`“
_ lsur\'r=,xudet; or. v
(b) 'the pérson_extradite;i, having lhad the
rppoztun$ty go qo so. did not leave the
territory of th€ Heguesring State within 30
da§s of the person‘s finbl release, or
retur§ed to the §erritory of the Requcst§ng
-` State after having left it.
`2.' Be£bre qrantin§ a requesé under paragraph l(a)
abore,` thc_Req\:ested St§te.mny request the document.'»' referred
to ih At\:$cle 10, and'|.n'ny gtatémerxts made' by the person-

4exhrodited with respect to the offense for which`the congent of

the R§§'ues£ed Sta‘he is requested.

Article 11
Transit
l_' -Either Ccntractinq State may authorize

trinsportatio# through its territory of a person surrendered co

veve othér State by a third State. A request £Qr €rensit shall

 

 

 

 

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be made through the diplomatic Channel or directly between the
_United States Department of Justic:e_ and the Ministry of austice

of the French. Republic‘ The facilities of INTERPOL may also be

 

used to transmit" such a request. lt shall gontain a
description cf the person being transported and a brief
statement of the facts of the care. A person in transit may be
detained in custody durinc`; the period cf t`ransit. y

2. No authorization is required where air
transportation is being utilized by one Contrncting Stnte and
no landing is Scheduled on the territory of the other
Contractinc_j State. _IE an unscheduled landing occurs on the
.-territory_`o£_ the other Contraotino St_ate, that Cnnt:zacting
State may require the request-for transit as provided in
paragr'aph~l. v’rhat Cohtracting State shall detain the person to .
be transported until the. request '£Qr transit is received and
the transit is elffer.t_er!,.so long as‘"the request is received

within 96 hours cf the unscheduled landing.

~'~ , Arti€le 22
;nep_resentation and Espenses
l. The Requ'ested Sta_te shall advise and assist the
Requesting _State in connection with a request for extradition.

Such advice and assistance shall be rendered in accordance with'

 

the provisions of the accompanying ag`ree'd.minute, which shall

form an integral part of this Treaty.

 

 

 

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1. “The Reques,ting State shzll bear the expenses
related to the.translatior\ cr' documents and the transportation'
of the person surrendered. The Requested State shall pay_ all
other expenses incurred in that state by reason of the
extradition proceedings. ‘

'3. Neither Stata shall make a_ny pecuniary claim b

against the other Ststc arising out of the arrest. detention `

examination. ~or surrender of persons sought under this Txeaty.

Article 23

Consultation

"!`he United 1States Department of Justice and the'diinistry-
oE-Justice of the French Republic may consult with each other
directly`or tl\rou_gh.the facilities `of l'N'l'EREOL in connection
with the_process`ing‘>of indiuiduai cases and in furtherance of
maintaining and improving procedures for the implementation of

this _Treuty.

Article 24 d
Applicatic_>n
l. ' This Treaty shell 'npp.iy. to offenses committed 1

before as weil as after the date-it enters“‘ into forco.

 

 

 

 

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2` _ Upon the entry into tacha of this Treaty, the
Treaty of Extrnéition bgtween the United States of Amecica and
thé Republic of France signed at Pacis January 6, 1909 and the
Supplementa:y Convention signed et Paris February 12, 1976 with
Exc§ange§ of herrera signed-at Paqis June.z an§ ll, 1979, shell
cease to have e§£ect between the United States 6£ America and .
the Ftench Republ&c.: Neverckeiess, the 1909 Treaty, as
supplem§néed ih 1970, shall apply ta any extradition

§roceedings in which extradi€ion documents have already been

submitted co the courts of the Requested State at the time this

jrcofy'enters into Eorce. ~

Article 25
Ratification and Entry into Yorce
Ench Contracting State §ha!l ho§i£y the $the: of the
completion of the gonstitdtionul proceéures re§u§rea fof the{
rabi£icati§n of this Treak{. The,Tréaty shall enqef into EnFce»
on the first day oE the second month following th§ daéé of
ceccipt:§£ the last notificatibn.

 

 

 

 

Article 26

Terminet ion

Eithe\: Con_tract£ng Stak:c»z.m\syl terminate'this Treaty at

anytime by givi;§g written dotice to the other C:)ntrocth_\g

Stata through4 the dip;omatic chonncl, md the termination shall

be effective six months -a,f.tex: the date of receipt of such

notice.

I}i HITNESS NHERF.OY, the tes§ective Plenipttentiaries

have signed this Treaty.'.
~
uC»NE at Paris, in du'plinace, this Jj'-"L' day of

!.pril, }9_96,_ in the E.'quish and French languages, both texts

being equal ly authent ic .

 

 

 

 

 

 

 

 

 

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